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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

IRONCLAD PERFORMANCE                           )
WEAR CORPORATION,                              )
                                               )
Plaintiff,                                     )
                                               )                Civil Action No. 3:15-CV-3453-D
v.                                             )
                                               )
ORR SAFETY CORPORATION,                        )
                                               )
Defendant.                                     )


          AGREED ORDER PURSUANT TO FEDERAL RULE OF EVIDENCE 502

          1.   The production of privileged or work-product protected documents, electronically

stored information (“ESI”) or information, whether inadvertent or otherwise, is not a waiver of the

privilege or protection from discovery in this case or in any other federal or state proceeding. This

Order shall be interpreted to provide the maximum protection allowed by Federal Rule of Evidence

502(d).

          2.   In the event that a document protected by the attorney-client privilege, the attorney

work product doctrine or other applicable privilege or protection is unintentionally produced by any

party to this proceeding, the producing party may request that the document be returned. In the

event that such a request is made, all parties to the litigation and their counsel shall promptly return

all copies of the document in their possession, custody, or control to the producing party and shall

not retain or make any copies of the document or any documents derived from such document.

The producing party shall promptly identify the returned document on a privilege log.              The

unintentional disclosure of a privileged or otherwise protected document—irrespective of the time

between disclosure and notification to the receiving party—shall not constitute a waiver of the
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privilege or protection with respect to that document or any other documents involving the same or

similar subject matter.

        3.      Nothing contained herein is intended to or shall serve to limit a party’s right to

conduct a review of documents, ESI or information (including metadata) for relevance,

responsiveness and/or segregation of privileged and/or protected information before production.


        IT IS SO ORDERED.

        SIGNED THIS 23rd day of March, 2016.



                                             SIDNEY A. FITZWATER
                                             UNITED STATES DISTRICT JUDGE
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